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                         UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF VIRGINIA
                           CHARLOTTESVILLE DIVISION

  DR. ROBERT W. MALONE,
                                                             CASE NO. 3:22-cv-00063
                                    Plaintiff,

                             v.                               SHOW CAUSE ORDER

  PETER R. BREGGIN, MD, et al.,
                                                              JUDGE NORMAN K. MOON
                                    Defendants.


       This matter is before the Court upon its own motion, and further to the Clerk of Court’s

Notice Letter dated January 30, 2023. Dkt. 3.

       Therein, the Clerk of Court warned Plaintiff that pursuant to Rule 4(m) of the Federal

Rules of Civil Procedure, “[i]f a defendant is not served within 90 days after the complaint is

filed, the court—on motion or on its own notice to the plaintiff—must dismiss the action without

prejudice against that defendant or order that service must be made within a specified time.”

Dkt. 3 (citing Fed. R. Civ. P. 4(m)). However, “if the plaintiff shows good cause for the failure,

the court must extend the time for service for an appropriate period.” Id. In the letter, the Clerk

of Court further cautioned that, “[p]ursuant to that rule, you are hereby given notice that the

Court’s record reflects that your complaint was filed on October 30, 2022 and as of this date,

service has not been executed on defendant(s) Peter R. Breggin, MD, Ginger Ross Breggin,

America Out Loud, Dr. Jane Ruby, Red Voice Media.” Id. Accordingly, the letter advised that

Plaintiff has “15 days from this day, January 30, 2023, to notify the Clerk of this Court that

service has been accomplished on said defendant(s). Otherwise, the named defendant(s) will be

dismissed from the suit without prejudice by Order of this Court.” Id.


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       The fifteen-day period the Clerk’s Office letter provided for Plaintiff to provide proof of

service on the Defendants has come and gone. Plaintiff’s counsel has filed proposed summons

that the Clerk of Court issued, but Plaintiff has not provided proof that Plaintiff has served any

Defendant (much less all Defendants) with a copy of the summons and complaint. Dkts. 4, 5.

       It appearing to the Court that Plaintiff has not served any defendant within the time

period specified by Rule 4(m) of the Federal Rules of Civil Procedure, the Court hereby finds it

appropriate to DIRECT Plaintiff’s counsel to SHOW CAUSE, within seven (7) days, as to why

this case should not be dismissed for failure to timely serve defendants, and for failure to

prosecute. Plaintiff’s counsel is further cautioned that failure to timely respond to this Show

Cause Order will result in dismissal of this action for failure to prosecute.

       It is so ORDERED.

       The Clerk of Court is directed to send a copy of this Order to the parties.

       Entered this 15th      day of February, 2023.




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